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R"-W) Case 2:03-Cr-20029-BBD Document 26 Filed 08/09/05 Pagelon Page|D 36

 

UNITED s'rATEs DISTRICT coURT jFu.Ez) ar ___ n.c.
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WESTERN DISTRICT oF TENNESSEE N'DMAS M. com g
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U. S. A. vs. Doris Delom §§olemg Doeket No. 2:03CR-20029-01

 

Petition on Probation and Supervised Release

COMES NOW Dg;yl K. Butler PROBATION OFFICER OF 'I'l-lE COURT presenting an official
report upon the conduct and attitude of Doris Delores Co]eman who was placed on supervision by the Honorable
Bernice B. Donald sitting in the Court at Memphis, TN on the 27th day of w 2003, who fixed the period

of supervision at two [2{ years , and imposed the general terms and conditions theretofore adopted by the Court
and also imposed Special Conditions and terms as follows:

 

 

l. The defendant shall pay restitution in the amount of $22,546.34. ( Balance: $17,165.91)

RESPECTFULLY PRESENTING PETITION FOR ACTION 0F COURT FOR CAUSE AS FOLLOWS:
The defendant failed to pay $22,546.34 restitution as ordered by the Court.

Doris Delores Coleman is unable to satisfy the restitution as ordered by the Court. She has made consistent monthly
payments of approximately ten percent (10%) of her gross income, and it is believed that she has paid to the best
of her financial ability, given her necessary living expenses verses her income. As of August 2, 2005, she has made
a total of $5,380.43, leaving an unpaid balance of $17,165.91. lt should be noted that Ms. Coleman paid her
$100.00 Special Assessment in full. Ms. Coleman has signed an agreement with the U.S. Attorney Financial
Litigation Unit to continue payments in the amount of $ 1 00.00 per month.

PRAYING TI-IAT THE COURT WILL ORDER that Doris Delores Coleman’s Supervised Release be allowed
to expire as scheduled on August 26, 2005, with the understanding that the United States Attorney’s Ofiice Will be
responsible for the continued collection of the restitution

 

ORDER OF COURT Respectfully,
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o€§¢:;:d£§ ", 205 J and ordered filed Daryl 14 Butler
and above United States Probation Officer

 

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Plaee Mern his Tennessee

Date Ausm 2. 2005

Thls document entered on the docket sheet fn compliancd'
with Hu!e 55 and/or 32(!:)} FHCFP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:03-CR-20029 Was distributed by fax, mail, or direct printing on
August ll, 2005 to the parties listed.

 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

